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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
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3    UNITED STATES OF AMERICA,

4               v.                            15 CR 867 (RMB)

5    REZA ZARRAB,

6                    Defendant.

7    ------------------------------x

8                                             New York, N.Y.
                                              November 3, 2016
9                                             3:03 p.m.

10
     Before:
11
                         HON. RICHARD M. BERMAN,
12
                                              District Judge
13

14                      APPEARANCES (By Telephone)

15   PREET BHARARA
          United States Attorney for the
16        Southern District of New York
     MICHAEL LOCKARD
17   SID KAMARAJU
          Assistant United States Attorneys
18
     BENJAMIN BRAFMAN
19   JOSH KIRSHNER
     VIET DIHN
20   EDMUND LaCOUR
          Attorneys for Defendant
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1               (In chambers; all counsel appearing via speakerphone)

2               THE COURT:   So I have a couple issues I wanted to go

3    over with you in the nature of pretrial issues and one is

4    actually raised -- indirectly, I guess -- by Ben Brafman.     So

5    going forward, it would be much easier for me to deal with one

6    defense counsel.    I don't know how many times this will come

7    up, but you all need to be thinking about some sort of

8    coordination so I don't get motions from every defense counsel.

9    If I did that, that's all I would be doing from now until the

10   middle of next year.      Not that they're not appropriate, the

11   motions, that is, but it would be helpful and it would be

12   useful if you all had some coordinative counsel function.

13              MR. BRAFMAN:    Your Honor, if it makes life easy, sir,

14   you can direct any inquiries to me.      I will then distribute it

15   to the rest of the team and then sort of try and get one

16   response that we can then report back that is the consensus

17   opinion so that you're not having to do that.

18              THE COURT:   Great.   That would be an excellent

19   solution.    So we'll just consider that that's our M.O. going

20   forward.    Okay?

21              MR. BRAFMAN:    Yes, sir.

22              THE COURT:   So the next issue is this Franks motion

23   that Mr. Dinh has submitted, premotion letter and the proposed

24   motion.    So that's it, I take it, for motions pretrial now that

25   we have this Franks motion in addition to the pending motion?


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1               MR. BRAFMAN:   Your Honor, I looked at the conference

2    that we had back in June and there was some understanding that

3    as we got closer to trial, in the form of motions in limine,

4    that there might be issues if we couldn't resolve them with the

5    government that we would need to ask your Honor to address.

6    But I think those would be of the form that you might expect

7    prior to trial to try and either keep certain evidence out or

8    coming to some stipulation as to how things will be handled.

9               And the reason I can't give you my word there will not

10   be any additional housekeeping motions is because, you know,

11   and this is not in any way being critical because it's a matter

12   of undertaking, but we just got the last tranche of discovery

13   last week.    We got 60,000 emails, which is a lot for us to try

14   and work our way through.       So I'm hoping that we have no more

15   substantial email discoveries that we're then going to have to

16   wade through.

17              So right now, sir, other than the motion filed by

18   Mr. Dinh's office, I'm not aware of any substantive motions

19   that we would need to ask your Honor to resolve, but there is a

20   pending protective order issue that while we are hopeful we may

21   be able to resolve with the government, it may eventually

22   require your Honor's intervention as well.

23              I don't think I'm missing anything unless the

24   government wants to mention something.

25              MR. LOCKARD:   No.    I think we share Mr. Brafman's


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1    expectations and understanding that there will be a pretrial

2    schedule for motions in limine and similar trial motions and,

3    like Mr. Brafman, hope to resolve the protective order issues,

4    potentially, but also agree we'll engage the Court if

5    necessary.

6               MR. BRAFMAN:   In terms of the motions in limine,

7    Judge, so as to not burden the Court's schedule, I think once

8    we understand that the case is proceeding to trial and that we

9    have to resolve those issues and cannot resolve them between

10   government counsel and defense counsel, we would then contact

11   chambers and at the Court's convenience either schedule a

12   conference call or an appearance.     But I don't think we need to

13   do that until sometime in early December even though we have a

14   January trial date because we really have not fully gotten our

15   arms around all of the discovery yet despite substantial

16   efforts by a lot of lawyers.

17              THE COURT:   Right.   I got that.   So what you both have

18   said, that works for me.     There would always be the opportunity

19   for motions in limine and I haven't figured out what the date

20   is, as you haven't, but there would be some additional schedule

21   as to pretrial submissions, including jury instructions,

22   motions in limine, verdict sheet, things of that nature.       So,

23   yes, I do contemplate that that normal process will come into

24   play.   It's best not to have that schedule yet because I think

25   what ultimately gets tried and what motions might eventuate


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1    would depend on the outcome of the hearing or hearings that are

2    coming up.

3               MR. BRAFMAN:   Yes, sir.   I was going to ask that

4    question primarily of the government, but we currently have a

5    hearing scheduled for November 22 which involves the motion to

6    suppress with respect to the iPhone issues and I think we're

7    supposed to get affidavits from the government early next week

8    from witnesses who may either intend to make available or from

9    witnesses whose testimony might be satisfied by affidavit.      The

10   Court has permitted us to then determine which of those

11   witnesses, if any, we would like to cross-examine live.     And

12   then I think depending on who the witnesses are, we need to

13   talk to the government about the availability of those

14   witnesses, assuming some of them are from the Miami area, for

15   example.

16              So we need to eventually get back to the Court to

17   solidify the 22nd as a hearing date and we hope to be able to

18   conference that among ourselves and the government sometime

19   next week and then we'll obviously alert your Honor's deputy if

20   there's any need to change the date of the 22nd, but we're

21   hopeful that that will not happen.

22              THE COURT:   Okay.   I think I mentioned in an earlier

23   order or some earlier conversation that that date is flexible

24   as far as I'm concerned.    It's really your call, defense and

25   the government, as to when you want to have it.      And I'm going


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1    to add to that and this may impact your calculation and that is

2    that I'm going to do the Franks issues at the same hearing or

3    not the same necessarily -- they're somewhat different

4    issues -- but in the same proceeding.     So I'm going to also

5    want affidavits.

6               And, by the way, the affidavits, the way that works is

7    all the witnesses who are going to be presented, whether

8    they're being presented by the government or the defense, their

9    direct testimony needs to be in the form of those affidavits;

10   and then those witnesses will be available live at the hearing

11   for cross and redirect.     So that's everybody's witness and

12   that's everybody who's going to be called to testify at that

13   hearing.

14              And, similarly, I want to do the Franks issue at that

15   same proceeding.   It may take more time or may have to add on

16   to whatever date we ultimately choose if it's different than

17   the 22nd.    So anybody who is going to testify at the Franks

18   hearing would also submit affidavits.     There will be a little

19   different schedule, obviously.     It would be burdensome to

20   require and impossible to require that by November 7, which is

21   currently the date for the affidavits for the hearing that we

22   had contemplated earlier.     So factor that into your

23   considerations with respect to November 22.

24              MR. BRAFMAN:   Judge, if I may, sir, we will, and I

25   appreciate your Honor bringing that to our attention.    We may,


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1    if we may, if that's going to be the case, have to consider an

2    adjournment of the November 22 date.     I'll conference with

3    counsel.    But with respect to the iPhone, the number of

4    witnesses available would be very few and the length of the

5    testimony, I think, would be very short.     The 23rd is for many

6    of the people on the team a travel day because it's the eve of

7    Thanksgiving.    So if we can't finish the hearing on the 22nd,

8    maybe we will do part of it.     Then subject to your Honor's

9    approval reschedule the whole hearing for after the holiday at

10   the Court's convenience.     And I think bringing people up right

11   on the Thanksgiving holiday, if they do have to come here from

12   Miami, is going to be difficult to schedule because very few

13   airline seats available around that time of the year as well.

14              THE COURT:   I understand that and I will be as

15   accommodative as I can.     Just as a heads up for you, I have

16   currently scheduled a trial, three or four defendant trial, to

17   begin on December 5, which is anticipated, I guess, to be a

18   two-week trial.   And I have no reason to believe that that

19   won't go forward.   That's a result of a multidefendant case,

20   all of whom have pled with the exception of the defendants who

21   are scheduled for trial on December 5.     So, anyway, just so you

22   know, those two weeks starting December 5 will probably be a

23   very busy time for me.     But I'm happy to do the hearing as

24   possibly you're suggesting, Ben, either start on the 22nd and

25   then adjourn to another date or move everything and do it, you


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1    know, from beginning to end on yet another date.

2               MR. BRAFMAN:    Maybe we can confer with the government

3    early next week after we've gotten the first set of affidavits,

4    confer with them, see how many people we're really talking

5    about and see about their availability and then just inform the

6    Court as best we can what we think makes the most sense and

7    will be the most efficient use of your Honor's time so that

8    we're not delaying the proceedings.

9               THE COURT:    That works fine for me.

10              MR. LOCKARD:    I apologize, your Honor.   That also

11   makes sense to us.      Just a couple issues that we also just

12   wanted to raise in connection with this discussion.

13              THE COURT:    Michael, let me interrupt you for a

14   minute.    I want to give you a couple other scheduling ideas so

15   they may factor into the points you're about to make.

16              So with respect, Mr. Dinh, particularly to the Franks

17   motion, there would be I don't know how many, but that would

18   also be done by affidavit for direct testimony.       And if the

19   dates were not changing, that is to say if we were keeping

20   November 22, I was going to say that those affidavits should be

21   due on November 17.      And I was also going to say that I am

22   accepting the Franks motion for filing.      I don't know exactly

23   what the procedure is, but it's been submitted already.        And I

24   would ask the government to respond to that motion on or before

25   November 14.    So those are two other dates I wanted to give you


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1    in the context of a November 22 hearing.

2               So with that said, Michael, you go ahead.

3               MR. LOCKARD:   Thank you, your Honor.    So just briefly

4    on the schedule for filing the affidavits on the first

5    suppression motion, we may be requesting Mr. Brafman's consent

6    to adjourn that just by a day or two just because it does

7    involve travel to Florida to prepare those affidavits.      So we

8    think we're going to be close to the 7th, but we're going to

9    request a consent to a one- or two-day adjournment.

10              MR. BRAFMAN:   We would consent to that, your Honor.

11              MR. LOCKARD:   We would also like an opportunity to

12   persuade the Court that a hearing is not necessary on the

13   Franks motion, but we'll also be prepared to proceed if the

14   Court is not persuaded it's not necessary.

15              THE COURT:   I anticipated that.    That's why I asked

16   for the opposition before the date that the affidavits for that

17   hearing would be due, albeit a short window because of the

18   looming November 22 date.     So did that come across from what I

19   said, that the opposition would be due on the 14th.      The

20   affidavits would not be due until the 17th.

21              MR. LOCKARD:   That's understood.

22              THE COURT:   It's a short window, but it was designed

23   to allow for consideration of the opposition before we had the

24   affidavits, although, as I say, I recognize it's a very short

25   window.


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1               MR. LOCKARD:   Yes, your Honor.   That's clear.   That's

2    understood.

3               THE COURT:   Okay.   So really that's it.   So maybe,

4    Ben, what I'm hearing from you is that next week you and the

5    government will meet and confer and if you have a better, more

6    convenient schedule for all of you and that I can do because of

7    my calendar, I'm happy to make adjustments.

8               MR. BRAFMAN:   We'll certainly confer with the

9    government, your Honor.     I don't know whether it will require a

10   meeting, especially if they need to travel to Miami to prepare

11   witnesses.    But we can do this by telephone and then advise

12   your deputy either by email or schedule another conference call

13   if necessary.

14              THE COURT:   By the way, I should mention that we don't

15   have Mr. Zarrab on this call.      Is it all right to waive his

16   appearance for this purpose?

17              MR. BRAFMAN:   Yes, sir.

18              THE COURT:   Okay.   And, Viet, did you want to add

19   anything from your perspective to the schedule or the dates,

20   the process that we've been talking about?

21              MR. DINH:    No, your Honor.   Thank you.   My only

22   question we'll work on with the government is the government's

23   opposition is on the 14th, do you have a date other than seven

24   days thereafter for our reply?

25              THE COURT:   I anticipate that that would come up.      You


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1    might want to work that out.       See if you can work that out in

2    the first instance with the government.       You certainly would

3    have that opportunity to do a reply.

4               MR. DINH:    Yes.   Thank you, your Honor.

5               THE COURT:    Okay.   So I think that's it from me.    I

6    guess I will just hold tight and wait to hear from all of you

7    sometime next week or from one of you on behalf of everybody.

8               MR. BRAFMAN:    Thank you very much, sir.

9               THE COURT:    Okay.   Did we leave anything out that

10   anybody can think of?

11              MR. LACOUR:    This is Edmund LaCour with Kirkland

12   Ellis.   One of the other questions we flagged in our letter was

13   the protective order and the fact that the September 2014

14   warrant application could conceivably be covered under the

15   protective order in a way that might raise questions over what

16   could be publicly filed on the docket.       We tried to craft the

17   memorandum of law in a way that would not expose anything that

18   the government might consider sensitive, but if we need to

19   confer with the government about this off-line, we can

20   certainly do that.

21              THE COURT:    Okay.

22              MR. LOCKARD:    We can address that with counsel.

23              THE COURT:    So it may well be -- I'll leave it up to

24   you -- but it may be after you meet and confer, if you come up

25   with a joint plan, although you're probably going to want to


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1    touch base with Christine Murray just to make sure the calendar

2    can accommodate it, you might want to submit a joint letter

3    reflecting the dates that you all come up with.      Okay.

4               Great to talk to you.   Thanks a lot.

5               MR. BRAFMAN:   Thank you, sir.

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